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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

         Plaintiff,
                                                                    Hon. Hala Y. Jarbou
 v.
                                                                    Case No. 1:21-cr-00146
 ALFREDO LOPEZ-HERNANDEZ,

       Defendant.
 ________________________________/

                                            ORDER


        Defendant appeared before me on September 29, 2021, with appointed counsel for a

detention hearing under the Bail Reform Act of 1984, 18 U.S.C. § 3142(f). After being advised

of his rights, including those attendant to a detention hearing, defendant waived his right to the

hearing. I find that his waiver was knowingly and voluntarily entered.

        Accordingly, IT IS ORDERED that defendant is committed to the custody of the Attorney

General pending trial.

        DONE AND ORDERED on September 29, 2021.




                                                     /s/ Sally J. Berens
                                                    SALLY J. BERENS
                                                    United States Magistrate Judge
